         Case 18-30002 Document 14 Filed in TXSB on 01/12/18 Page 1 of 3




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                      §       CASE NUMBER 18-30002
                                            §
RAY L. SHACKELFORD                          §       CHAPTER 13
DEBTOR                                      §
                                            §

                     DEBTOR’S MOTION TO DISMISS VOLUNTARY CASE

This motion seeks an order that may adversely affect you. If you oppose the
motion, you should immediately contact the moving party to resolve the dispute. If
you and the moving party cannot agree, you must file a response and send a copy
to the moving party. You must file and serve your response within 21 days of the
date this was served on you. Your response must state why the motion should not
be granted. If you do not file a timely response, the relief may be granted without
further notice to you. If you oppose the motion and have not reached an agreement,
you must attend the hearing. Unless the parties agree otherwise, the court may
consider evidence at the hearing and may decide the motion at the hearing.
Represented parties should act through their attorney.


       COMES NOW, Ray L. Shackelford, Debtor herein, and files this Debtor’s Motion
to Dismiss Voluntary Case. In support thereof, Debtor would show the following:

       1. Debtor filed his petition for relief on or about January 1, 2018. No order of
          discharge has been entered, no complaint objecting to debtor’s discharge has
          been filed, no order for conversion has been entered, and no complaints to
          determine dischargeability of any debts have been filed in the case
       2. Since the filing of the voluntary petition for relief, Debtor has decided not to
          pursue chapter 13 relief.
       3. Pursuant to 11 U.S.C. § 1307(b), Debtor hereby requests the court to dismiss
          this case.

                                           PRAYER
    WHEREFORE, PREMISES CONSIDERED, Debtor prays that the order for relief
resulting from the filing of the voluntary petition be set aside, that his voluntary petition for
relief under chapter 13 of the Code be dismissed without prejudice, and that he have such
other and further relief as is just.

Respectfully submitted,


/s/ Brian M. Middleton
                                           Page 1 of 3
       Case 18-30002 Document 14 Filed in TXSB on 01/12/18 Page 2 of 3




Brian M. Middleton
SBN 90001967
7322 Southwest Freeway, Suite 1980
Houston, Texas 77074
Telephone (713) 680-3296
Facsimile (713) 680-3242
Email: brian@middletonlawfirm.com
Attorney for Debtor




                             CERTIFICATE OF SERVICE
      The undersigned hereby certifies that a true and correct copy of the foregoing
Motion to Dismiss Voluntary Case was served upon the following via electronic mail in
accordance with the Rules of Bankruptcy Procedure on this 12th day of January 2018:

      Ray L. Shackelford
      1406 Southmore
      Houston, Texas 77004

      U.S. Trustee
      515 Rusk Avenue, Suite 3516
      Houston, Texas 77002

      William E. Heitkamp
      Office of the Chapter 13 Trustee
      9821 Katy Freeway, Suite 590
      Houston, Texas 77024

      Parties Requesting Notice:

      Ovation Services, LLC
      c/o J. Christopher Creel
      Creel Law Group, PLLC
      4301 Westbank Drive, Suite 220
      Austin, Texas 78746

      Icon Bank of Texas, N.A.
      c/o Brian B. Kilpatrick
      Wilson, Cribbs + Goren, P.C.
      2500 Fannin Street
      Houston, Texas 77002

      Secured and Unsecured Creditors:



                                         Page 2 of 3
       Case 18-30002 Document 14 Filed in TXSB on 01/12/18 Page 3 of 3




      VIA US MAIL:
      Propel Financial Services
      P.O. Box 100350
      San Antonio, Texas 78201

      Tax Ease Funding, LLC
      c/o Ovation Services
      8401 Datapoint Drive, Suite 1000
      San Antonio, Texas 78229-5926

      Toyota Lease
      c/o Toyota Motor Credit Corporation
      P.O. Box 9013
      Addison, Texas 75001-9013

      Navy Federal Credit Union
      820 Follin Lane
      Vienna, VA 22180-4907

      Icon Bank of Texas, N.A.
      7908 N. Sam Houston Parkway W Suite 100
      Houston, Texas 77064

      Ovation Services, LLC
      4301 Westbank Drive, Building B, Suite 220
      Austin, Texas 78746


/s/ Brian M. Middleton




                                     Page 3 of 3
